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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

   UNITED STATES OF AMERICA and
   BARBARA BERNIER,

          Plaintiffs,

   v.                                                     Case No: 6:16-cv-970-Orl-37TBS

   INFILAW CORPORATION and
   CHARLOTTE SCHOOL OF LAW, LLC,

          Defendants.


                                            ORDER

          The parties’ Joint Motion to Allow Counsel to Confer Telephonically for Case

   Management Conference (Doc. 34) is GRANTED. The parties may confer telephonically

   to prepare their case management report. If the parties are unable to agree on all matters

   to be included in the report, then the Court may require an in-person meeting of counsel

   to attempt, in good faith, to resolve all disagreements.

          DONE and ORDERED in Orlando, Florida on September 29, 2017.




   Copies furnished to Counsel of Record
